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                            IN THE UNITED STATES BANKRUPTCY COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                      FORT MYERS DIVISION

IN RE:                                               Case No. 9:19-bk-05580-FMD
LOUIS ALAN MAIER

             Debtor
_______________________________/

                                           NOTICE OF HEARING

        NOTICE IS HEREBY GIVEN THAT:

        A hearing will be held in Room 4-102, Courtroom E, United States Courthouse, 2110 First Street,
Fort Myers, FL 33901 on August 29, 2019 at 9:30 a.m. before the Honorable Caryl E. Delano, United
States Bankruptcy Judge, to consider and act upon the following matter(s):

Trustee’s Objection to Debtor’s Claim of Exemption
and Debtor’s Response to Trustee’s Objection to Claim of Exemption


Appropriate Attire. You are reminded that Local Rule 5072-1(b)(16) requires that all persons appearing in
court should dress in business attire consistent with their financial abilities. Shorts, sandals, shirts without
collars, including tee shirts and tank tops, are not acceptable.

Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule 5073-1 restricts the
entry of cellular telephones and, except in Orlando, computers into the Courthouse absent a specific order of
authorization issued beforehand by the presiding judge. Due to heightened security, persons must present
photo identification to enter the Courthouse.

                                              Certificate of Service

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been sent electronically to
the Assistant United States Trustee and David Fineman and by regular U.S. Mail to Louis A. Maier, 4315
SW 25th Place, Cape Coral, FL 33914 this 5th day of August 2019.


                                                       /s/ Robert E. Tardif Jr.
                                                     Robert E. Tardif Jr., Trustee
                                                     Post Office Box 2140
                                                     Fort Myers, FL 33902
                                                     (239) 362-2755
                                                     rtardif@comcast.net
